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  8                        UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
 10                                SOUTHERN DIVISION
 11
      In re: Shimano Crankset Litigation,        Case No. 8:23-cv-02038-JVS (JDEx)
 12
                                                 ORDER RE STIPULATED
 13                                              PROTECTIVE ORDER
 14
                                                 District Judge: Hon. James V. Selna
 15                                              Magistrate Judge: Hon. John D. Early
 16
 17
            FOR GOOD CAUSE SHOWN, the Court hereby approves the parties’
 18
      Stipulated Protective Order (Dkt. 108).
 19
            IT IS SO ORDERED.
 20
 21
      DATED: January 10, 2025
 22
 23
 24                                             JOHN D. EARLY
 25                                             United States Magistrate Judge

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                                                ORDER
